

Matter of Craig (2022 NY Slip Op 00109)





Matter of Craig


2022 NY Slip Op 00109


Decided on January 6, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 6, 2022

PM-06-22
[*1]In the Matter of Ethan William Chun Craig, an Attorney. (Attorney Registration No. 5115316.)

Calendar Date:January 3, 2022

Before:Garry, P.J., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.

Ethan William Chun Craig, Indianapolis, Indiana, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Ethan William Chun Craig was admitted to practice by this Court in 2013 and lists a business address in Indianapolis, Indiana with the Office of Court Administration. Craig now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Craig's application.
Upon reading Craig's affidavit sworn to October 26, 2021 and filed November 1, 2021, and upon reading the December 29, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Craig is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Ethan William Chun Craig's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Ethan William Chun Craig's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Ethan William Chun Craig is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Craig is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Ethan William Chun Craig shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








